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                                                          PeachCourt




                                                     LITT, ET AL V PROCTOR &
                SUCV2022000272                      GAMBLE PAPER PRODUCTS            DOUGHERTY SUPERIOR                          GENERAL TORT
                                                          COMPANY, INC.

       Case Docket
         Case Initiation Date                                Assigned Judge
         03/04/2022                                          VSD


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       Party Information

       Plaintiffs:                                                               Defendant:
         LITT, CALVIN, SR.                                                          PROCTOR & GAMBLE PAPER PRODUCTS COMPANY, INC.


         LITT, IRISH IND & AS BENEFICIARIES


         CALVIN LITT SR AS ANTICIPATED ADMIN OF ESTATE



       Attorney/Filer Information

         BROOKS, NATANYA                                                            MALONE, ADAM



        Docket #       Document Type                  Description                                Filer              Filing Date       Source

        1              Complaint                      COMPLAINT FOR DAMAGES                      Brooks, Natanya    03/04/2022        EFile: PeachCourt

        2              Summons                        SUMMONS FOR THE P&G PAPER PRODUCTS CO      Brooks, Natanya    03/04/2022        EFile: PeachCourt

        3              Civil Case Initiation Form     Case Information Form                      Brooks, Natanya    03/04/2022        EFile: PeachCourt

        4              Miscellaneous                  SHERIFF SERVICE                            Brooks, Natanya    03/21/2022        EFile: PeachCourt

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